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                          Exhibit 25:
           Morris Deposition Transcript,
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                      Transcript of the Testimony of
                            Morris, Narcisa
                              Date: January 25, 2023
                                     Volume:

            Case: JOHN DOES A, et al. v. GRETCHEN WHITMER, et al.


                           Printed On: February 10, 2023
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      1     they move interstate, correct?                            1     federal government?
      2   A. Yes.                                                     2   A. No, not to my knowledge.
      3   Q. How do they fulfill that registration obligation?        3   Q. Would they be removed from the national registry?
      4   A. In our state, we have state statute to support that      4   A. Yes.
      5     registration requirement.                                 5   Q. How does that happen?
      6   Q. So they have to register under the state registration    6   A. It's automatic, behind the scenes.
      7     system, correct?                                          7   Q. So let's take after the 2020 law changes, there were
      8   A. Correct.                                                 8     individuals who were under the Holmes Youthful Trainee
      9   Q. There's not like a federal registry that they can        9     Act. Are you familiar with the Holmes Youthful
     10     register in?                                             10     Trainee Act?
     11   A. Not to my knowledge, no.                                11   A. Yes.
     12   Q. Okay. I saw some references to the NSOR database,       12   Q. And some of those individuals came off the registry
     13     what is that?                                            13     after the 2021 law changes, correct?
     14   A. I'm sorry, I need more content.                         14   A. I wasn't a participant, so.
     15   Q. I've seen some references in the documents to a         15   Q. You weren't personally involved in removing
     16     National Sex Offender Registry database. Are you         16     individuals?
     17     familiar with what that is?                              17   A. Correct. I know something happened, I just don't know
     18   A. Can you expand more? Was there more with that? It's     18     the reason or the details around it.
     19     not bringing anything to my recall.                      19   Q. Okay. Sure. Are you -- did you -- but you're aware
     20   Q. Okay. I'll maybe on a break see if I can find a         20     that there were people that were removed as a result
     21     document.                                                21     of the 2021 law changes around HYTA?
     22   A. Okay.                                                   22   A. I know that there were people removed regarding HYTA.
     23   Q. So if somebody is removed from the registry in          23   Q. Okay. Would those individuals then also come off the
     24     Michigan, maybe there's a court order that they get      24     federal registry?
     25     removed, do you communicate that in any way to the       25   A. They would come -- they -- if they come off our

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      1     registry, they come off the public's -- National          1   Q. Let's talk about out-of-state offenses, which is kind
      2     Public Sex Offender Registry.                             2     of confusing, at least to me. I'm hoping you can help
      3   Q. Okay. Let's say that that person still has -- a          3     me understand it. Can you explain how you determine
      4     person who's under the Holmes Youthful Trainee Act        4     the registration requirements for people with
      5     still has an obligation to register under federal law,    5     out-of-state offenses?
      6     how would the person do that?                             6   A. If it's an out-of-state offense that we've encountered
      7   A. I don't know.                                            7     before, legal has already provided guidance on what
      8             MR. JAMISON: Objection, lack of                   8     the tier should be, they're already in our system. If
      9     foundation.                                               9     it's something we haven't encountered before, we pass
     10   BY MS. AUKERMAN:                                           10     that through legal for a case by case review.
     11   Q. So you don't know how a person could register if        11   Q. Okay.
     12     they're not on the federal registry -- excuse me.        12              MS. AUKERMAN: So let's take a look at an
     13             If someone is removed from Michigan's            13     exhibit here. This is Bates 723, Exhibit 9.
     14     registry, you're not aware of a way for them to          14              MARKED FOR IDENTIFICATION:
     15     register, correct?                                       15              DEPOSITION EXHIBIT 9
     16   A. Correct.                                                16              1:23 p.m.
     17   Q. What about -- let's talk about the pre-2011             17   BY MS. AUKERMAN:
     18     registrants for a second. So one of the changes that     18   Q. Can you tell me what this is?
     19     was made in March of 2021 was that the pre-2011          19   A. Out-of-state adult conviction flowchart.
     20     registrants don't have to report internet identifiers,   20   Q. So can you walk me through how this works.
     21     is that correct?                                         21   A. It's like following the prompts. You answer the
     22   A. Correct.                                                22     questions to know where you go next for an
     23   Q. So if a person were required to report that under       23     out-of-state conviction -- an out-of-state offense.
     24     federal law, how could they report that?                 24              Now these are our offenses that have
     25   A. I don't know.                                           25     already been identified. However, there was a change

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      1     in policy applicability of when we use our duration        1     the -- if -- it doesn't matter if it's comparable to a
      2     versus the state's duration because the language in        2     Michigan offense; if the convicting jurisdiction
      3     statute. And so, this helped us determine that.            3     requires registration, you have to register, correct?
      4   Q. Can you explain that. I'm sorry, go ahead.                4   A. Say that again.
      5   A. So there are --                                           5   Q. If the convicting jurisdiction requires registration,
      6   Q. Go ahead.                                                 6     the person has to register in Michigan even if it's
      7   A. So there is -- it -- this essentially helps us            7     not comparable to a Michigan conviction?
      8     determine whether we're using our state duration based     8   A. So one way or the other, yeah, if their jurisdiction
      9     on that conviction or if -- that similar conviction or     9     requires them to register, they would have to
     10     if it would have been their state duration. And           10     register.
     11     again, these are for convictions that have already        11   Q. So, for example, if you had indecent exposure, that's
     12     been identified in the system.                            12     not a registrable offense in Michigan. If it's a
     13   Q. Okay. So let me make sure, because it's a -- to me       13     registrable offense in, I don't know, Georgia, the
     14     it's a confusing flowchart -- make sure I'm               14     person would still have to register in Michigan?
     15     understanding you correctly.                              15   A. Correct.
     16              So if someone has an offense that's not          16   Q. Okay. Okay. So let's say the convicting -- the
     17     comparable to Michigan registration statute, so we're     17     offense -- excuse me.
     18     here on this first box, go no, okay. They still have      18             Let's say -- well, let's say the convicting
     19     to register if the state requires -- if their state of    19     state doesn't require registration -- a comparable --
     20     conviction requires registration, correct?                20     I found this chart very confusing.
     21   A. If their state of conviction requires registration,      21             If it's comparable to a Michigan adult
     22     yes.                                                      22     conviction, but the state -- convicting state doesn't
     23   Q. So you could have -- if the -- if the state of           23     require registration, would the person have to
     24     registration -- it doesn't matter if comparable to a      24     register?
     25     Michigan offense if the state of registration -- if       25   A. Say that again, I'm sorry.

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      1   Q. So let's take an offense that the convicting state        1   A.  Correct.
      2     doesn't require registration. But if comparable to a       2   Q.  While you were manager?
      3     Michigan offense, as I read this looking at this top       3   A.  Correct.
      4     line along the flowchart, it looks like they would --      4   Q.  Was there a memo or directive or written guidance of
      5     they could still have to register in Michigan?             5     any kind about that durational change?
      6   A. They could, yes.                                          6   A. Received communication, I believe, I don't know if it
      7   Q. Okay. And so, let's take someone who is -- who has --     7     was formal or it was just a change in process of what
      8     that's an offense that's comparable to a Michigan          8     we've been doing. And so, then we were told we were
      9     conviction, but it's not a tier III offense. It's          9     supposed to do it this way. But it was new to us so
     10     tier I or tier II offense. As I read this chart, the      10     we needed to somehow write it down to keep track of
     11     registration duration would be whichever is longer,       11     it.
     12     the convicting state or Michigan, is that correct?        12   Q. Who made that decision to change the durational
     13   A. Yes.                                                     13     requirements?
     14   Q. Let's go on to the next page for out-of-state juvenile   14   A. MSP legal.
     15     adjudications. Can you sort of summarize how juvenile     15   Q. Okay.
     16     adjudications are handled for out of state?               16             MS. AUKERMAN: We're going to want whatever
     17   A. Let me think about this for a minute. So again, this     17     communications or directive was provided to the staff.
     18     is trying to figure out -- because we had that change     18   BY MS. AUKERMAN:
     19     where we could go on either duration. This was            19   Q. If I'm understanding this chart -- this flowchart
     20     helping us identify the duration, when to use our         20     correctly, if it's not comparable to a Michigan
     21     duration requirements or the other state's.               21     juvenile adjudication, the person still has to
     22   Q. When you mentioned we had that change about duration,    22     register if the adjudicating state requires
     23     when was that?                                            23     registration, correct?
     24   A. I don't know off the top of my head.                     24   A. Correct.
     25   Q. Was it while you were in the unit?                       25   Q. If the adjudicating state requires registration of, I

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      1     don't know, some offense that we don't consider an        1     correct.
      2     offense here, a juvenile would still -- if the            2   Q. So at the bottom of these charts it says consult with
      3     juvenile has to register in the other state, they'd       3     an -- if the code is not listed, consult with an
      4     still have to register in Michigan?                       4     analyst. Who gets consulted?
      5   A. Correct.                                                 5   A. I'm sorry?
      6   Q. Okay. If it is comparable to a Michigan juvenile         6   Q. It says consult with an analyst. Who's the analyst
      7     adjudication and in Michigan -- a Michigan juvenile       7     that's being consulted here?
      8     only registers if they're over fourteen, correct?         8   A. Our analysts, one of our four analysts.
      9   A. Correct.                                                 9   Q. Okay. We received a bunch of documents that were
     10   Q. But if the adjudicating state requires registration     10     communications with MSP legal about trying to figure
     11     and the person is under thirteen, the person would       11     out whether certain offenses were comparable to
     12     still be required to register in Michigan, correct?      12     Michigan offenses. When is legal brought in to those
     13   A. Correct.                                                13     decisions?
     14   Q. So if you had an eight-year-old that was required to    14   A. If it's an offense we've never encountered before, so
     15     register in Georgia for juvenile adjudication, they      15     it's not already captured, then we would move that on
     16     would have to register in Michigan?                      16     up the chain of -- to MSP legal. Or if for some
     17   A. Correct. That's how I understand it.                    17     reason it just isn't making sense to us or we just
     18   Q. And in Michigan only tier III offenses require          18     don't feel comfortable or we feel there's something
     19     registration for juveniles, correct?                     19     questionable about the situation, then we would pass
     20   A. Correct.                                                20     that to legal.
     21   Q. Okay. But if the -- if the offense is not a tier III,   21   Q. For offenses you haven't encountered before, do
     22     if it's a tier I or tier II, but the adjudicating        22     different analysts have -- sometimes have different
     23     state requires registration, the person would still      23     perspectives on what the comparable Michigan offense
     24     have to register in Michigan?                            24     is?
     25   A. Correct. They may still have to register in Michigan,   25              MR. JAMISON: Objection, lack of

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      1     foundation.                                               1   A. Correct.
      2   BY MS. AUKERMAN:                                            2   Q. Who makes the decision about whether an out-of-state
      3   Q. You can answer.                                          3     process is equivalent to a juvenile adjudication?
      4   A. Are you -- will you ask the question again.              4   A. I'm sorry, can you ask the question again.
      5   Q. So -- yeah. So when you encounter an offense that you    5   Q. So different states have different ways of treating
      6     haven't come across before and you're trying to figure    6     juveniles of -- different deferral programs, things
      7     out what -- whether it's comparable to a Michigan         7     like that.
      8     offense, do different analysts sometimes come to          8              Who makes the decision that say, you know,
      9     different conclusions about whether it's comparable to    9     a Georgia program is comparable to the Holmes Youthful
     10     a Michigan offense?                                      10     Trainee Act?
     11   A. No. Because they don't do that. They're just looking    11   A. If it -- it's not clearly communicated from that other
     12     to see if there isn't something that already -- if       12     state, we don't -- we would send it to legal to
     13     it's a new one, they go through legal. We don't make     13     review. We don't determine that.
     14     those decisions at this level. These are ones that we    14   Q. So what kind of documents do you get in order for
     15     already had in the system that now we had to apply the   15     legal to make those decisions?
     16     new process to.                                          16   A. We try to ascertain any conviction documentation,
     17   Q. Let me make sure I understand this. This chart is --    17     police reports.
     18     this isn't for -- this only relates to ones that are     18   Q. Why do you get the police reports?
     19     already in the flowchart?                                19   A. Just sometimes there's age -- age is captured for
     20   A. Correct.                                                20     victim; that is -- doesn't always come across in some
     21   Q. Okay. So then you would say look, it's --               21     of the convicting documentation.
     22   A. It's already been identified.                           22   Q. Is the comparison based on -- the comparison for the
     23   Q. Uh-huh. And then you would go through the flowchart.    23     out-of-state offense, is that based on the -- what the
     24     Okay. Correct? That's when you'd go through the          24     person was convicted of? Or what the -- what the
     25     flowchart, correct?                                      25     allegations in the documents are?

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      1   A. I don't -- I can't answer that. I don't know.             1     table in MSOR.
      2              MS. AUKERMAN: Let's look at another               2   Q. So if someone comes in with Arkansas eleven forty-one
      3     document here. This is going to be the PACC code           3     four twenty offense, if that's in MSOR, that would
      4     table. This is Exhibit 10.                                 4     automatically populate?
      5              MARKED FOR IDENTIFICATION:                        5   A. If it's in here, it's in MSOR. These are ones we've
      6              DEPOSITION EXHIBIT 10                             6     already encountered. We've already determined whether
      7              1:38 p.m.                                         7     it's published, their tier, you know, based on
      8   BY MS. AUKERMAN:                                             8     whatever the criteria might be.
      9   Q. Do you recognize this document?                           9   Q. What does CRR mean?
     10   A. I don't see anything yet.                                10   A. That is a national -- the NCIC, that is a designation
     11   Q. I apologize. Can you see that now. Do you recognize      11     within NCIC regarding the -- it being the type of sex
     12     this document?                                            12     offense.
     13   A. Yes.                                                     13   Q. Okay. And then the next column here is tier level,
     14   Q. Okay. And can you explain how -- what this is -- is      14     correct?
     15     -- let me stop.                                           15   A. Correct.
     16              Can you tell us what this is?                    16   Q. How -- I see a bunch of these are blank. What does
     17   A. This is what populates our tier table in MSOR.           17     that mean that they are blank?
     18   Q. When you say populates our tier table, what do you       18   A. Is there anything to the right of it?
     19     mean by that?                                             19   Q. No.
     20   A. The crime codes that are in MSOR, this is how we -- we   20   A. I'm not sure.
     21     communicate them. We get information. Like if there       21   Q. Okay.
     22     was a similar -- similar offense, then if we got          22   A. I'm guessing because it needs to be evaluated
     23     information from legal saying that it was, we would       23     dependent -- I'm guessing it would be something -- if
     24     fill this out. We would send it to our vendor. And        24     we got one of those, we would have to give it to legal
     25     then the vendor would use this to add it to the tier      25     to review. Because each time it could be

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      1     circumstantial -- not circumstantial -- but it could       1   A. Can you click the arrow, please, the filter.
      2     be circumstances that need to be reviewed by them.         2   Q. I don't know that I can because I don't have the
      3   Q. So like for all these we have here starting on line       3     passwords to go in. But you can kind of see that it's
      4     fifty-seven a whole bunch of Alabama offenses that         4     blank.
      5     there's no tier level for. So those would not yet          5   A. They're not all blank.
      6     have been reviewed by legal?                               6   Q. They're almost all blank.
      7   A. I'm saying they probably have been reviewed by legal,     7   A. So right there, they should say yes. And then if it
      8     but because of the way the statute is written, it may      8     was comparable to the code, I guess, I don't know.
      9     need to be something reviewed each time. It's not          9   Q. Okay.
     10     something we can just say it's always going to be this    10   A. It looks like it's been over the years used for
     11     or that.                                                  11     different reasons.
     12   Q. So what you're saying is there's some offenses where     12   Q. Okay. And then I see that -- so but -- but most of
     13     you can't tell from the language of the statute           13     these are blank whether or not they've been approved.
     14     whether or not a person is tier I, tier II, tier III,     14     If we scroll down here, we can see on column R that
     15     and so they're going to have to be individually           15     almost all of them are blank, correct?
     16     reviewed?                                                 16   A. I see that.
     17   A. That is my best guess.                                   17   Q. Okay. And the comparable Michigan code, what is that
     18   Q. Okay. So then there's column O, it says publish          18     column supposed to be for?
     19     single offense. What does that mean?                      19   A. I don't know that we've updated it from before to now.
     20   A. That they only have to have one offense and they're      20     So I don't know what it means.
     21     published.                                                21   Q. Okay. But you agree that most of these -- there's not
     22   Q. And if that's blank, what does that mean?                22     a comparable Michigan code listed for most of these
     23   A. Again, it hasn't been determined.                        23     offenses?
     24   Q. Okay. And then there's a column here for approved by     24   A. Correct.
     25     MSP legal. What does that mean?                           25   Q. Do you know if that's because there isn't a -- when we

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      1     go back to the flowchart, right, whether or not           1   Q. Okay. So but at some point there was a determination
      2     something is a comparable Michigan offense is the         2     made that this D.C. twenty-two three oh oh nine
      3     first thing you have to figure out.                       3     offense is comparable to some Michigan offense that
      4             So the fact that these are blank, does that       4     requires tier III registration, correct?
      5     mean that there's not a comparable Michigan offense?      5   A. I know that it was designated as a tier III if the
      6   A. I don't know that.                                       6     victim was one through twelve.
      7   Q. How would the analyst know whether there's a             7   Q. I guess what I'm trying to get at is it seems like
      8     comparable Michigan offense if it's not marked in this    8     whether or not something is comparable to a Michigan
      9     chart?                                                    9     offense is pretty foundational to how that person is
     10   A. They don't use this chart to do that. They use what's   10     classified, correct?
     11     in MSOR.                                                 11             MR. JAMISON: Objection, vague.
     12   Q. Does MSOR have a field for comparable offense?          12   BY MS. AUKERMAN:
     13   A. No. But whatever the tier is, is how we kind of         13   Q. You can answer.
     14     figure it out. Obviously, if it's another state and      14   A. I'm not sure of your question.
     15     they're not using tiers or something, we don't look at   15   Q. Okay. Let's go back to the prior document.
     16     that.                                                    16             MR. JAMISON: Can we take five minutes.
     17   Q. So how do I -- how would I figure out what -- let's     17     She's saying she needs a break. Is that okay?
     18     take -- I don't know. Here, let's just take -- D.C.,     18             MS. AUKERMAN: Yeah, that's fine. I'm
     19     second degree child abuse, tier III; how do I know       19     trying to confirm that we're not communicating with
     20     what the comparable Michigan offense is? Where is        20     the witness.
     21     that -- where's that kept?                               21             MR. JAMISON: Mariam, I'm not telling my
     22   A. We don't keep that. I don't know. We don't keep         22     witness how to answer questions.
     23     that.                                                    23             MS. AUKERMAN: Okay.
     24   Q. Does anybody keep that?                                 24             MR. JAMISON: I said that at the beginning
     25   A. Not that I'm aware of.                                  25     of the deposition. If her and I want to communicate

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      1     about whether or not she needs a break, that's totally    1   Q. So you would -- the MDOC, if they want to know whether
      2     permissible. We'd like to take ten minute and we'll       2     someone is a past registrant, you would make -- based
      3     reconvene at 2:00.                                        3     on out-of-state conviction, you would make that
      4             MS. AUKERMAN: That's fine.                        4     predetermination, correct?
      5             MR. JAMISON: Do you have any idea how much        5   A. Yeah. ICOTS is part of the MDOC. So that's what I'm
      6     longer you're going to need?                              6     referring to, yes.
      7             MS. AUKERMAN: I think we're going to need         7   Q. Okay.
      8     the rest of the day.                                      8   A. Because when they're having people transferring from
      9             MR. JAMISON: You're going to take the full        9     other states.
     10     seven hours?                                             10             MS. AUKERMAN: Let me share one more
     11             MS. AUKERMAN: Yes, I am, likely. We'll           11     document here. This is one of the policy manuals. I
     12     see how it's -- let's off the record.                    12     believe we're on Exhibit 11. This is Bates 775.
     13             (Off the record 1:48 p.m.)                       13             MARKED FOR IDENTIFICATION:
     14             (Back on the record at 2:02 p.m.)                14             DEPOSITION EXHIBIT 11
     15   BY MS. AUKERMAN:                                           15             2:03 p.m.
     16   Q. Just a couple more questions on the sort of             16   BY MS. AUKERMAN:
     17     out-of-state offenses, really just one more. I read      17   Q. Do you recognize this document?
     18     in the documents that you don't do predeterminations,    18   A. Can you go to the top, please.
     19     is that correct?                                         19   Q. Sure.
     20   A. Correct.                                                20   A. Okay.
     21   Q. The unit does predeterminations for law enforcement,    21   Q. Do you recognize this document?
     22     correct? Like for an out-of-state registry?              22   A. Yes.
     23   A. That was a new process change. So the only ones we do   23   Q. Okay. And I just note here it says that in the --
     24     that for are like ICOTS and MDOC, which is the           24     this we're now on page Bates 776. It says that
     25     transfer.                                                25     there's no predeterminations made, correct, for

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      1     registrants?                                               1     that, is there a role for the registrant's attorney in
      2   A. Uh-huh.                                                   2     determining what is substantially similar?
      3   Q. And that there are predeterminations made for the MDOC    3              Like is there an appeals process or
      4     or for a court, correct?                                   4     anything that -- the registrant or attorney can do to
      5   A. Correct.                                                  5     say, you know, I don't think it's substantially
      6   Q. Okay. And then the highlighted language here says the     6     similar to this. I think it's substantially not
      7     offender shall be provided with the resources needed       7     similar. Is there -- what's the process, if any?
      8     to make the determination. What resources are              8   A. So I have actually had that happen, and I've referred
      9     provided to registrants moving in out of state to make     9     to legal, MSP legal.
     10     that determination?                                       10   Q. So the registrant or their attorney would need to
     11   A. Referencing the state statute, the registrable           11     contact MSP legal?
     12     offenses.                                                 12   A. No. They don't contact them, they contact us. The
     13   Q. So the registrant will be told you can look at your      13     attorney, if they have issue with it, they contact us.
     14     out-of-state conviction and you can look at the           14     And we can tell them that we can refer to our legal
     15     Michigan conviction and --                                15     for a review. But typically that's after they have
     16   A. And consult an attorney.                                 16     already been determined a certain tier.
     17   Q. And consult an attorney. But they're not provided        17   Q. But if the registrant's attorney says I disagree, I
     18     with the chart --                                         18     think this is tier II and not tier III, what happens?
     19   A. No.                                                      19   A. For someone who's already registered?
     20   Q. -- or anything like that?                                20   Q. Yeah. The person has been registered and told you're
     21             So they would have to try to figure out           21     tier III and the attorney says no, I think this is
     22     themselves whether something is substantially similar     22     more comparable to a tier II offense, what happens?
     23     to a Michigan offense, correct?                           23   A. They usually send something to our group email and we
     24   A. I guess correct, yes.                                    24     advise them that we are forwarding to legal for
     25   Q. All right. Let's talk about -- one last question on      25     review.

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      1   Q. Right. And then if legal says nope, we think this         1     that be considered substantially similar to kidnapping
      2     person is a tier III, what happens?                        2     in Michigan?
      3   A. I don't know. That -- usually we respond. I haven't       3   A. If it -- I would follow the typical rule. If for some
      4     had anything come back. I've only had that experience      4     reason that's something that we are directed to start
      5     once.                                                      5     addressing, we would address it.
      6   Q. Okay. Let's talk about the non-sex offense cases.         6   Q. Okay. So you're familiar with the Michigan Court of
      7     Are you familiar with registration requirements for        7     Appeals called People v. Lymon, correct?
      8     people who are not convicted of a sex offense?             8   A. Correct.
      9   A. Somewhat.                                                 9   Q. What's happening in response to Lymon within the SOR
     10   Q. Can you describe what you know.                          10     unit?
     11            MR. JAMISON: Objection, vague.                     11   A. As we've been directed, we are providing communication
     12   BY MS. AUKERMAN:                                            12     to prosecutors, law enforcement, and courts advising
     13   Q. Can you describe who has to register for a non-sex       13     of specific individuals with those offenses -- those
     14     offense?                                                  14     offenses only -- and asking them to review and
     15   A. What I've learned thus far is the Lymon, in three        15     determine if a sexual component existed -- existed.
     16     instances of Lymon; child enticement, kidnapping, and     16     And that if we don't get any response or determined
     17     unlawful imprisonment.                                    17     that there was none, they are being removed from the
     18   Q. What about out-of-state offenses?                        18     registry. That we need to hear from them.
     19   A. What about?                                              19   Q. So when you say you've been providing communication,
     20   Q. Are there out of state -- are there people with          20     when -- when did that occur?
     21     out-of-state non-sex offenses that are required to        21   A. So the first one, I believe, went out in November, I
     22     register in Michigan?                                     22     think. And then we just sent another here in January,
     23   A. I don't know. I don't -- I've not been instructed or     23     a reminder.
     24     had to look at that thus far.                             24   Q. When you say the first one, what do you mean?
     25   Q. So if someone had a kidnapping offense in Ohio, would    25   A. The notice to PAAM, the courts, law enforcement,

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